                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 DANIEL JOSEPH STAKEM, III,                  )
 and wife, CAROL STAKEM,                     )
                                             )
               Plaintiffs,                   )
                                             )
 v.                                          )      No. 3:04-CV-311
                                             )      (Shirley)
 KIMBER LEE RANDOLPH,                        )
                                             )
               Defendant.                    )


                        JUDGMENT ON DECISION BY THE COURT

               This case came before the Court on the Motion for Summary Judgment by State Farm

 Mutual Automobile Insurance Company [Doc. 12] and the Motion for Summary Judgment by

 Plaintiff Daniel Joseph Stakem [Doc. 15].

               For the reasons set forth in the Memorandum Opinion filed simultaneously herewith,

 it is ORDERED and ADJUDGED that the Motion for Summary Judgment by State Farm Mutual

 Automobile Insurance Company [Doc. 12] is GRANTED, the Motion for Summary Judgment by

 Plaintiff Daniel Joseph Stakem [Doc. 15] is DENIED, and this action is DISMISSED WITH

 PREJUDICE.

               IT IS SO ORDERED.

                                                    ENTER:


                                                      s/ Patricia L. McNutt
                                                    PATRICIA L. McNUTT
                                                    CLERK OF COURT




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